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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  PAULA DISBERRY,

                               Plaintiff,

                         v.                          Case No. 22-CV-5778

  EMPLOYEE RELATIONS COMMITTEE
  OF THE COLGATE-PALMOLIVE                           COMPLAINT (ERISA)
  COMPANY, ALIGHT SOLUTIONS, LLC,
  AND THE BANK OF NEW YORK
  MELLON CORPORATION,

                              Defendants.



                                            JURISDICTION


        1.      This Court has subject matter jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. § 1131 and the specific jurisdictional statute for claims brought pursuant to the Employee

Retirement Income Security Act of 1974 (“ERISA”), ERISA § 502(e) and (f), 29 U.S.C. §

1132(e) and (f).

                                               VENUE

        2.      Venue lies in the Southern District of New York pursuant to ERISA § 502(e)(2),

29 U.S.C. § 1132(e)(2), because the Colgate-Palmolive Company Employees Savings and

Investment Plan (the “Plan”) is administered in part in this District, some of the alleged breaches

took place in this District, and Defendants Employee Relations Committee of the Colgate-

Palmolive Company and The Bank of New York Mellon Corporation may be found in this

District.
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                                               PARTIES

          3.      At all relevant times, Plaintiff Paula Disberry has been a participant, as defined by

ERISA § 3(7), 29 U.S.C. § 1002(7), in the Plan. Ms. Disberry resides in Camps Bay, South

Africa.

          4.      Defendant Employee Relations Committee of the Colgate-Palmolive Company

(the “Employee Relations Committee”) is the Plan Administrator of the Plan within the meaning

of ERISA § 3(16)(a)(i), 29 U.S.C. § 1002(16)(a)(i). At all relevant times, the Employee

Relations Committee was the named fiduciary of the Plan by reason of being the Plan

Administrator. The Committee is located in New York, New York.

          5.      Defendant Alight Solutions, LLC (“Alight”) is an Illinois limited liability

company with its principal place of business in Illinois. At all relevant times, Alight provided

contract administration, record-keeping, and information management services to the Plan. At all

relevant times, Alight was a fiduciary of the Plan within the meaning of ERISA § 3(21), 29

U.S.C. § 1002(21), in that it exercised authority or control respecting management or disposition

of the Plan’s assets, it exercised discretionary authority or discretionary control respecting

management of the Plan, and/or it had discretionary authority or discretionary responsibility in

the administration of the Plan. Specifically, Alight operated a telephone customer service center,

referred to as the “Benefits Information Center” or the “Customer Care Center,” and a website at

www.colgatebenefits.com, both of which provide Plan participants with the ability to manage

their Plan accounts, including requesting distributions of benefits. Alight exercised control over

Plan assets by facilitating, directing and processing distributions from participants’ accounts,
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including the unauthorized distributions in this case. Alight has been compensated for its services

by direct payment from the Plan.

       6.      Defendant The Bank of New York Mellon Corporation (“BNY Mellon”) is a

Delaware corporation with its principal place of business in New York, New York. At all

relevant times, BNY Mellon served as a Plan Trustee, provided investment management services

to the Plan, served as custodian of Plan’s assets, and made Plan payments from the Plan’s trust

fund. As stated in the Plan’s Master Trust Agreement, BNY Mellon agreed to implement and

maintain a comprehensive information security program designed to protect the Plan’s sensitive

information and to protect against threats or hazards and unauthorized access to or use of such

information that could result in harm to Plan participants. Pursuant to the Master Trust

Agreement, BNY Mellon also agreed to discharge its duties with the care and skill required

under ERISA and to otherwise exercise the standard of care of a professional custodian. BNY

Mellon was compensated for its services by investment management fees paid directly from the

Plan. As such, BNY Mellon was a fiduciary of the Plan within the meaning of ERISA § 3(21),

29 U.S.C. § 1002(21), in that it exercised authority or control respecting management or

disposition of the Plan’s assets, it exercised discretionary authority or discretionary control

respecting management of the Plan, it had discretionary authority or discretionary responsibility

in the administration of the Plan, and/or it provided investment advice for a fee or other

compensation from the Plan. BNY Mellon maintains an office in New York, New York.

       7.      The Plan is an employee pension benefit plan as defined by ERISA §

3(2), 29 U.S.C. § 1002(2), sponsored by the Colgate-Palmolive Company. The Plan is a

combination of several “programs,” including defined contribution, profit sharing, and employee
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stock ownership plan features. The Plan is an “individual account” pension plan as defined in

ERISA § 3(34), 29 U.S.C. § 1002(34). According to the Plan’s 2020 IRS Form 5500, as of

December 31, 2020, the Plan had 7,264 participants with account balances, and $3,304,005,459

in assets.

                                             FACTS

Ms. Disberry’s Employment with Colgate-Palmolive and Participation in the Plan.

        8.      Ms. Disberry worked for Colgate-Palmolive from December 1993 to March 2004,

in England, Mexico and the United States. For the last three years of her employment with

Colgate-Palmolive, she served as the Global Director – Customer Marketing, and was based in

New York. Ms. Disberry left Colgate-Palmolive in March 2004, to return to England.

        9.      Ms. Disberry became eligible to participate in the Plan beginning in 1998. She

was diligent about saving for retirement. Throughout her time at Colgate-Palmolive, she

regularly made employee contributions to the Plan, and Colgate-Palmolive regularly made

employer contributions. As of March 17, 2020, her account balance under the Plan was just over

$750,000.

        10.     Ms. Disberry has lived in South Africa at all times since 2008. Upon moving

there, she updated her contact information with the Plan. In June 2016, she again submitted to

the Plan an update of her contact information, which consisted of her (1) physical mailing

address, (2) email address, and (3) cell phone number. Her contact information has remained the

same since that time.

The Plan’s Unauthorized Distribution of Ms. Disberry’s Plan Account Balance.

        11.     As of early 2020, Ms. Disberry was 52 years of age. Ms. Disberry’s Plan account
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represented a significant portion of her retirement savings. She periodically reviewed her Plan

balance, but her intention was and always has been to leave her Plan account alone until she was

ready to retire at approximately age 65. She has never requested or received any distribution

from her Plan account.

       12.     In or around August 2020, Ms. Disberry attempted to access her Plan account

online to review her Plan balance. However, her attempts to access her account were blocked,

and the website said she was entering the incorrect username ID and password. She then

contacted Colgate-Palmolive and the Benefits Information Center to request access and

information about her Plan account.

       13.     On September 14, 2020, Ms. Disberry was informed that the entire balance of her

Plan account, totaling $751,430.53, had been distributed from the Plan in a single taxable lump

sum, even though at no point had she authorized or received any such distribution.

       14.     Ms. Disberry later learned that her Plan account was distributed to an individual

with an address and bank account in Las Vegas, Nevada (the “fraudster”) in March 2020.

According to information from Alight, the fraudster first contacted the Benefits Information

Center by telephone on January 29, 2020. She falsely identified herself as Ms. Disberry, and

requested to update Ms. Disberry’s contact information that was on file with the Plan. Alight sent

a temporary personal identification number (PIN) by mail to Ms. Disberry’s South Africa

address. The fraudster, and/or others working in conjunction with her, intercepted Ms. Disberry’s

mail and stole the temporary PIN. Alight did not contact Ms. Disberry at the phone number or

email address that she had previously provided to the Plan to notify her of the request or of the

mailing of the temporary PIN, or to confirm that she had authorized the requested PIN.
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       15.     On February 24, 2020, the fraudster again contacted the Benefits Information

Center. The fraudster used the temporary PIN and then created a new permanent PIN. The

fraudster then requested that Ms. Disberry’s phone number be changed to a new number, and

that her email address be changed to a new email address. Neither the new number nor the new

email address belong to Ms. Disberry. Alight never contacted Ms. Disberry’s previously-

provided phone number and/or email address to notify her of the new PIN or updated phone

number and email address, or to confirm that she had in fact authorized these changes.

       16.     In late February 2020, the fraudster also requested information on how to reset

Ms. Disberry’s online user ID and password, so that she could access Ms. Disberry’s Plan

account information using the Colgate-Palmolive Benefits website operated by Alight. The

Alight representative provided directions for doing so, and shortly thereafter the fraudster

changed Ms. Disberry’s online user ID and password to access her Plan account.

       17.     On March 9, 2020, the fraudster accessed Ms. Disberry’s Plan account online and

added information for direct deposit for a Bank of America branch with a Las Vegas address.

       18.     On March 17, 2020, the fraudster accessed Ms. Disberry’s Plan account using the

Colgate-Palmolive Benefits website, and requested a distribution of Ms. Disberry’s entire Plan

account via direct deposit to the Bank of America account in Las Vegas, which had been added

the prior week. The fraudster also changed Ms. Disberry’s address online from the address in

South Africa, which had been the address on file for multiple years, to an address in Las Vegas,

Nevada.

       19.     On March 17, 2020, the fraudster then called the Benefits Information Center and

said she had requested a total distribution from the Plan via direct deposit. The benefits
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representative told the fraudster that the Plan did not offer distributions by direct deposit. The

fraudster then told the benefits representative that she wanted a total distribution by check, to be

sent to the Las Vegas address that the fraudster had added to the account earlier that same day.

During that phone call the benefits representative conducted the distribution transaction online.

       20.     On March 20, 2020, the distribution was processed for $751,430.53 gross

($601,144.42 net of mandatory tax withholdings),1 and a BNY Mellon check for $601,144.42

was sent to the fraudster at the Las Vegas, Nevada address that had been added to Ms. Disberry’s

account a mere three days before. The fraudster cashed or deposited the check at a bank in Las

Vegas, Nevada on March 27, 2020.

       21.     On March 17, 2020, a confirmation of payment notice was sent by mail to the Las

Vegas, Nevada address that had only been added to Ms. Disberry’s Plan account that same day,

as well as to the newly added email address. Neither of these belong to Ms. Disberry, and so she

never received any such notices. Upon information and belief, the notices were mailed and

emailed by Alight.

       22.     According to a report of a fraud investigation conducted by Alight in September

2020 after Ms. Disberry alerted them to the theft of Plan assets, at least seven additional phone

calls to the Benefits Information Center and at least eleven additional website log-in attempts

were made by the fraudster (and/or others acting in concert with the fraudster) during the first

half of 2020, during which the individual attempted to access Ms. Disberry’s account

information, but was unable to authenticate the call or was unable to provide the PIN, address,


       1
         According to a February 23, 2022 Claim Summary prepared by Colgate-Palmolive, the
$150,286.33 of income tax withholding was subsequently unwound by Alight and redeposited
with the Plan pending resolution of Ms. Disberry’s claim.
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phone number or email address on file for the account.

       23.      On September 14, 2020, immediately upon discovery of the fraud, Ms. Disberry

contacted Colgate-Palmolive. Alight placed a freeze on Ms. Disberry’s account (even though

there were no longer any funds in it), reviewed the activity associated with the account, and

based on this review, determined that Ms. Disberry appeared to have been the victim of identity

theft and theft of Plan funds.

       24.      Ms. Disberry has never requested or authorized any distribution from the Plan.

She never lived in Las Vegas or anywhere else in Nevada, and she has never had an account with

Bank of America or with any other bank in Las Vegas. At all times since 2008 she has lived in

South Africa.

       25.      In and around September 2020, Ms. Disberry also reported the fraud to multiple

authorities, and since then she has participated in investigations by the South African Police

Service and the U.S. Secret Service office in Pretoria, South Africa. She also placed a fraud alert

on her credit file with Equifax, and she appointed the private firm of ENSafrica Forensics to

conduct an investigation into the fraud. However, none of these efforts have resulted in the

recovery of her Plan funds.

Other Attempts by the Fraudster to Misappropriate Ms. Disberry’s Retirement Benefits.

       26.      The fraudster also attempted to access Ms. Disberry’s funds under Colgate-

Palmolive’s defined benefit pension plan, which is not at issue in this case. The fraudster was

able to gain access to her defined benefit account sufficiently to alter certain personal

information, including changing the address on file to a Salt Lake City, Utah address, another

South African email address, and another South African mobile number. However, the
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fraudster’s attempts to obtain a lump sum distribution of Ms. Disberry’s funds under that plan

was unsuccessful because of the security measures implemented by that plan, including but not

limited to requiring proof of identification (e.g. driver’s license or passport) prior to distribution

of funds. Alight was not involved with administration of that plan. The Plan at issue in this case

did not require proof of photo identification prior to distribution of funds.

       27.     In addition, the fraudster attempted to access Ms. Disberry’s account under a

pension plan sponsored by another former employer, called the Momentum Gibraltar Pension

Plan. The fraudster was able to gain access to that account sufficient to alter certain personal

information. However, the fraudster’s attempts to access funds from that plan were unsuccessful

because of the security measures implemented by that plan, including a telephone and email

notification of the requested change of personal details to the phone number and email address

previously provided to that plan, and calling Ms. Disberry’s financial advisor (who had

previously contacted the plan on Ms. Disberry’s behalf). Alight was not involved with

administration of that plan. The Plan at issue in this case did not provide a telephone or email

notification of the requested change of personal details to the phone number and email address

previously provided to the Plan, and it did not contact Ms. Disberry’s financial advisor (who had

previously contacted the Plan at issue in this case on Ms. Disberry’s behalf as well).

Relevant Plan Provisions.

       28.     When a Plan participant’s employment with Colgate-Palmolive ends, he/she has

the option of leaving his/her vested balance in the Plan and deferring payment until a future time.

       29.     A participant may request a final distribution online at colgatebenefits.com or by

calling the Benefits Information Center, both of which are operated by Alight. The distribution
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may be rolled over to an Individual Retirement Account (IRA) or to another employer’s qualified

plan (such as a 401(k) or profit-sharing plan). Alternatively, a participant may take the

distribution in cash, but the amount will be subject to federal tax, plus an additional 10% penalty

tax if the individual is under age 59 ½.

       30.       The Plan provides that the Employee Relations Committee or its designee shall

issue directions to the Trustee concerning all benefits which are to be paid from the Trust Fund

pursuant to the provisions of the Plan, and warrants that all such directions are in accordance

with the Plan.

       31.       Pursuant to the Plan’s Summary Plan Description, if a request for a distribution is

received by 4:00 p.m. Eastern time on a regular business day, the election is generally processed

that day. However, “[i]f you have changed your address or the address of a financial institution

to which you would like payment to be mailed within the last 14 days, any payment request

cannot be mailed to such address.”

       32.       The Summary Plan Description in effect in 2020 advises that “[c]omplicated tax

issues may arise for certain participants who reside outside of the U.S. at the time of distribution

from the [Plan]. Therefore, it is strongly recommended that you contact the International

Benefits Department prior to requesting a final distribution so that the appropriate paperwork can

be completed in advance of the transaction.”

Ms. Disberry’s Correspondence with Defendants Since September 2020.

       33.       Between September 2020 and October 2021, Ms. Disberry was in contact with

Colgate-Palmolive representatives on multiple occasions. At their request, she regularly updated

them on her efforts with the criminal investigations.
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       34.     On October 6, 2021, Ms. Disberry submitted a claim for benefits under the Plan.

In her claim letter she explained that she had not requested or authorized any distribution from

the Plan, and she requested confirmation that the fraud did not impair or reduce her benefit under

the Plan, or in the alternative, that Colgate-Palmolive restore to her Plan account the amount of

the fraudulently obtained distribution. In response, on April 7, 2022, the Plan’s Claims

Administrator denied her claim, asserting that “[w]hile it is unfortunate that your information and

Plan benefit may have been stolen from you,” “the Plan had in place reasonable procedures with

respect to Plan distribution, [] these procedures were followed,…[and] your Plan benefit was

paid in accordance with all Plan terms and requirements.”2

       35.     However, the Plan did not have reasonable procedures in place, and the

procedures it did have were not in fact followed by Defendants. The fact that within the span of

less than two months, a person claiming to be a Plan participant changed the participant’s phone

number, email address, mailing address, and bank account information, and then requested an

immediate cash distribution of the participant’s entire $750,000 Plan account, should have been

red flags that triggered further action to confirm that the requested distribution had come from

the Plan participant. The fact that a person claiming to be a Plan participant changed the

participant’s contact information such that the phone number and email address were from one

country and the mailing address was in a different country should have been a red flag that

triggered some further action to confirm the legitimacy of the request. The fact that a person

claiming to be a Plan participant requested an immediate cash distribution instead of a tax-


2
  The claim brought in this lawsuit is a claim for breach of fiduciary duty, and not a claim for
benefits under the terms of the Plan. Therefore, no exhaustion of administrative remedies is
required to proceed in court.
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protected roll-over distribution; that they were doing so prior to age 59 ½, subjecting them to an

additional 10% tax penalty; and that they failed to contact the International Benefits Department

prior to requesting a distribution while residing in a foreign country, despite the Summary Plan

Description’s strong recommendation to do so, all should have been red flags that triggered

further action to confirm the legitimacy of the distribution request. The fact that a flurry of

attempts to access a Plan account via telephone and online occurred within a short time span,

many of which were unsuccessful, should have been a red flag prompting further action.

However, Defendants failed to heed or even notice any of these suspicious actions, thereby

leading to the loss of Plan assets.

        36.     Furthermore, the South African postal service has been in turmoil for several

years, and is known for its lack of security, delays, corruption and mismanagement. Providing a

temporary PIN via mail to a foreign address, especially where the security of the mail has not

been established, without also notifying the participant of the PIN request via the phone number

and/or email address on file, and without also notifying the participant of the request for

disbursement of funds via phone and/or email, is not reasonable.

        37.     In addition, Defendants failed to follow their own procedures, including but not

limited to failing to wait for 14 days after Ms. Disberry’s address was changed before processing

and distributing Plan assets.

        38.     Instead, Defendants ignored numerous significant red flags, failed to follow their

own procedures, and failed to implement reasonable procedures to detect and prevent fraud and

theft of Plan assets.
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                                      CLAIM FOR RELIEF

                               Claim to Restore Plan Losses
           Pursuant to ERISA §§ 409 and 502(a)(2), 29 U.S.C. §§ 1109 and 1132(a)(2)
                                  Against All Defendants

          39.   Ms. Disberry incorporates paragraphs 1-38, above, as though fully set forth

herein.

          40.   ERISA § 404(a), 29 U.S.C. § 1104(a), requires that a fiduciary discharge its

duties with respect to a plan solely in the interest of the participants and beneficiaries; for the

exclusive purpose of providing benefits to participants and their beneficiaries and defraying

reasonable expenses of administering the plan; and with the care, skill, prudence, and diligence

under the circumstances then prevailing that a prudent man acting in a like capacity and familiar

with such matters would use in the conduct of an enterprise of a like character and with like

aims.

          41.   ERISA § 409, 29 U.S.C. § 1109, provides that any person who is a fiduciary with

respect to a plan who breaches any of the responsibilities, obligations, or duties imposed upon

fiduciaries by ERISA Title I shall be personally liable to make good to such plan any losses to

the plan resulting from each such breach, and shall be subject to such other equitable or

remedial relief as the court may deem appropriate.

          42.   ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), authorizes a plan participant to bring

an action for appropriate relief under ERISA § 409.

          43.   Defendants, and each of them, breached their fiduciary duties of loyalty and

prudence by causing or allowing the Plan to make unauthorized distributions of Plan assets;

failing to identify and investigate suspicious activities and red flags; failing to identify and halt
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suspicious distribution requests; failing to confirm authorization for distributions with the Plan

participant before making distributions; failing to provide timely notice of a request for

distributions to the Plan participant by telephone or email; failing to establish distribution

processes to safeguard Plan assets against unauthorized withdrawals; failing to monitor other

fiduciaries’ distribution processes, protocols, and activities; and related acts and omissions.

       44.     As a result of Defendants’ breaches, the Plan has suffered losses, including at

least $601,144.423 and investment earnings thereon from Ms. Disberry’s Plan account.

                                     PRAYER FOR RELIEF

       45.     WHEREFORE, Ms. Disberry prays that the Court grant the following relief:

               A.      Declare that Defendants, and each of them, have breached their fiduciary

                       duties of loyalty and prudence;

               B.      Order that Defendants, and each of them, restore to Ms. Disberry’s Plan

                       account the improperly distributed funds of at least $751,430.53 plus

                       investment earnings thereon from the distribution date to the date of

                       judgment herein;

               C.      Award Ms. Disberry reasonable attorneys’ fees and costs of suit incurred

                       herein pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g); and,




3
  As discussed in fn 1 above, according to Defendants, the $150,286.33 of income tax
withholding allegedly was unwound and redeposited with the Plan, but on information and belief
has not been re-allocated to Ms. Disberry’s account. Plaintiff has no confirmation that these
restored assets will be allocated to her account.
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            D.     Provide such other equitable and remedial relief as the Court deems

                   appropriate.

                                         Respectfully submitted,



Dated: New York, New York
       July 7, 2022               ________/s/ Evan Brustein____________
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